Case 1:24-cv-01276-JLT-SKO   Document 1-1   Filed 10/18/24   Page 1 of 11




              EXHIBIT A
      Case 1:24-cv-01276-JLT-SKO          Document 1-1       Filed 10/18/24     Page 2 of 11



     Alan A. Ahdoot, Esq. (State Bar No. 238594)
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     Arash Nematollahi, Esq. (State Bar No.: 225306)           E-FILED
 2                                                             8/14/2024 8:36 AM
     ADAMSON AHDOOT LLP
                                                               Superior Court of California
 3   1122 S. La Cienega Blvd.                                  County of Fresno
     Los Angeles, California 90035                             By: Maria Marselas, Deputy
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 7
     Attorneys for Plaintiff
 8   ROBERT JOSEPH MARQUEZ, an individual

 9
                  IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
10

11                 FOR THE COUNTY OF FRESNO - B.F. SISK COURTHOUSE

12                                 UNLIMITED JURISDICTION
13   ROBERT JOSEPH MARQUEZ, an                    Case No.: 24CECG03494
     individual,
14                                                PLAINTIFF'S COMPLAINT FOR
            Plaintiff,                            DAMAGES, INCLUDING PUNITIVE
15                                                DAMAGES, FOR:
     vs.                                            1. NEGLIGENCE-FAILURE TO
16
                                                       WARN
     TEMU.COM, a Delaware Corporation; PDD          2. NEGLIGENT PRODUCTS
17   HOLDINGS, INC., f/k/a PINDUODUO,                  LIABILTY
     INC., a Delaware Corporation; WHALECO
18   INC., a Delaware Corporation; ANHUI            3. STRICT PRODUCTS LIABILITY
     KANGFUBAO E-COMMERCE CO., LTD.,                4. BREACH OF IMPLIED
19   business entity, form unknown; and DOES 1-        WARRANTY OF
     100, inclusive,                                   MERCHANTABILITY
20
                                                    5. NEGLIGENT
            Defendants.                                MISREPRESENTATION
21

22                                                PLAINTIFF'S REQUEST TRIAL BY JURY

23                                                DEMAND IS ABOVE $25,000.00

24

25          COMES NOW Plaintiff ROBERT JOSEPH MARQUEZ, an individual ("PLAINTIFF")

26   in this Complaint for causes of action against Defendants TEMU.COM, a Delaware Corporation;

27   PDD HOLDINGS, INC., f/k/a PINDUODUO, INC., a Delaware Corporation; WHALECO INC.,
28
                  PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRlAL
                                               1
           Case 1:24-cv-01276-JLT-SKO             Document 1-1         Filed 10/18/24       Page 3 of 11




          a Delaware Corporation; ANHUI KANGFUBAO E-COMMERCE CO., LTD., business entity,
     2    fonn unknown; and DOES 1-100, inclusive, and each of them, (collectively referred to as
     3   "DEFENDANTS"), complains and allege as follows:
 4                                         GENERAL ALLEGATIONS

 5               1.      The true names and capacities, whether individual, corporate, associate,

 6       governmental, or otherwise of DOES 1 -100, inclusive, are unknown to PLAINTIFF at this time,

 7       who therefore sues said defendants by such fictitious names; and when the true names and

 8       capacities of said defendants are ascertained, PLAINTIFF will amend this complaint accordingly.

 9               2.     PLAINTIFF is infonned, believes and thereon alleges that each of the defendants

10       designated herein as a DOE is liable for negligence and/or liable for negligent/strict product

11       liability, and/or negligent misrepresentation, and/or breach of wananty, and/or was in the chain of
12       distribution (including but not limited to the manufacturers, distributors, wholesalers, retailers,
13       marketers, supplies, and advertisers) of the defective product and/or was directly in the chain of

14       marketing of the defective product and/or is otherwise responsible in some manner for the events
15       and happenings herein referred to, and their negligence and/or other conduct pertaining to the
16       incident described herein or pertaining to the defective product described herein or otherwise,

17       proximately caused serious injuries and damages to PLAINTIFF, either through said

18       DEFENDANTS' own conduct or through the conduct of their agents, servants, or employees, or

19       due to their designing, manufacturing, marketing, advertising, selling, supplying, distributing

20       causing the injury, or in some other manner.

21              3.      At all times relevant and mentioned herein, PLAINTIFF ROBERT JOSEPH

22       MARQUEZ, an individual, ('Plaintiff') was a resident of the City of Fresno, California, County

23       of Fresno, California, and this Court, Fresno Superior Court, therefore, is the proper Court in which

24       to bring this action, pursuant to California Code of Civil Procedure sections 395 and 396.
25              4.      At all times relevant and mentioned herein, Defendant TEMU.COM, a Delaware
26       Corporation, (hereinafter "TEMU") was and is a business entity, form unknown, doing business

27       in the County of Fresno, State of California.

28
                      PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
                                                   2
       Case 1:24-cv-01276-JLT-SKO              Document 1-1        Filed 10/18/24        Page 4 of 11




            5.      At all times relevant and mentioned herein, DEFENDANT PDD HOLDINGS,
 2   INC., f/k/a PINDUODUO, INC., a Delaware Corporation (hereinafter "PDD HOLDINGS") was

 3   and is a corporation doing business in the County of Fresno, State of California.

 4          6.      At all times relevant and mentioned herein, DEFENDANT WHALECO INC., a

 5   Delaware Corporation (hereinafter "WHALECO") was and is a Delaware corporation doing

 6   business in the County of Fresno, State of California,

 7          7.      At all times relevant and mentioned herein, Defendant ANHUI KANGFUBAO E-

 8   COMMERCE CO., LTD., business entity, form unknown; (hereinafter "Defendant ANHUI"),

 9   business entity form unknown, doing business in the county of Fresno, the State of California.

            8.      PLAINTIFF is informed, believes, and thereon alleges that at all times relevant and

11   mentioned herein, DEFENDANTS, including DOES 1 through 100, inclusive, and each of them,

12   were the agents, servants, employees, and/or successors in interest, and/or joint venturers of their

13   co-Defendants, and each of them was acting within the course, scope, and authority of said agency,

14   employment, and/or venture, and that each and every DEFENDANT, as aforesaid, when acting as

15   a principal, was negligent in the selection and hiring, retention, training and supervision of each

16   and every other DEFENDANT as an agent, employee and/or joint venturer. Furthermore, that

17   each said DEFENDANT, while acting as a principal, expressly directed, consented to, approved,

18   affirmed, and ratified each and every action taken by their co-Defendants, as alleged.

19          9.      PLAINTIFF is informed, believes, and thereon alleges that said fictitiously named

20   DEFENDANTS, and each of them, engaged in the same or similar conduct as the named

21   DEFENDANT, thereby proximately causing PLAINTIFF'S damages as set forth herein, either

22   through the said fictitious Defendants' own negligent conduct or through the conduct of agents,

23   servants, or employees, or due to their ownership, rental, use, repair, or maintenance of the product.

24          10.     At all times mentioned herein DEFENDANTS were doing business in the State of

25   California.

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28
                   PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
                                                3
       Case 1:24-cv-01276-JLT-SKO            Document 1-1        Filed 10/18/24       Page 5 of 11




            11.     PLAINTIFF is informed, believes, and thereon alleges that at all times herein

 2   mentioned, DEFENDANTS owned, maintained, controlled, possessed, managed, and/or otherwise

 3   operated the online store/marketplace named TEMU.COM.

 4          12.     PLAINTIFF brings this action because of the serious injuries and damages

 5   sustained in connection with incident that occurred on or about April. 26, 2024, when

 6   PLAINTIFF's feet sustained severe burn injury and damage from the "J pc, Portable Steam

 7   Sauna, Personal Home Spa Room, Steamer, Sweat Tent" (hereinafter "SUBJECT PORTABLE

 8   STEAM SAUNA") sold, supplied, distributed, marketed, and advertised by TEMU.COM.

 9          13.     On or about April 19, 2024, SUBJECT PORTABLE STEAM SAUNA was listed

10   for sale, marketed, marketed, and advertised on TEMU.COM, via its website link of:

11   https://share.temu.com/OUWFDyerCtA

12          14.     On or about April 19, 2024, PLAINTIFF made the purchase from Fresno,

13   California from DEFENDANT TEMU.COM, through its marketplace on TEMU.COM that sold,

14   supplied and distributed the SUBJECT PORTABLE STEAM SAUNA.

15          15.     At all times mentioned herein, DEFENDANTS were engaged in the business of

16   designing, manufacturing, fabricating, assembling, distributing, selling, inspecting, warranting,

17   retailing, wholesaling, marketing, and/or advertising the SUBJECT PORTABLE STEAM

18   SAUNA.

19          16.     On or about April 26, 2024, PLAINTIFF was properly using the SUBJECT

20   PORTABLE STEAM SAUNA. As PLAINTIFF was using the SUBJECT PORTABLE STEAM

21   SAUNA, a malfunction occurred wherein the hose disconnected from the steam unit when

22   suddenly and without warning burned Plaintiffs toes and foot resulting in serious injury to

23   PLAINTIFF and ultimately resulting in amputation of all of his toes from his left foot.

24          17.     DEFENDANTS, and each of them, are directly and vicariously liable for

25   PLAINTIFF'S injuries and damages for advertising, marketing, supplying, distributing, and

26   selling the SUBJECT PORTABLE STEAM SAUNA.

27   Ill
28
                  PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
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        Case 1:24-cv-01276-JLT-SKO                                                                                                     Document 1-1                                     Filed 10/18/24                                          Page 6 of 11




                           18.                     As a result of the bum, PLAINTIFF suffered severe, traumatic, debilitating, and

 2   permanent injuries, including amputation of his toes on his left foot that necessitated significant

 3   medical care.

 4                         19.                     DEFENDANTS, and each of them, state on TEMU.COM, as set forth below, that

 5   "The steam generator is equipped with a built-in protection function to prevent overheating and

 6   dry burning."

 7                                                                                                                                                            't"- -'''-"''' -'"'""''" -'t'"', u,,uun. Jc.u,ru ,,.,,. ,.,. 1 ,u,,1,.,, uu _,, ...._, ,_,,11u1ru1 ••'-•
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                          20.                      Statements made by DEFENDANTS, and each of them, on TEMU.COM regarding
20
     the safety of the SUBJECT PORTABLE STEAM SAUNA were incorrect, not true, misleading,
21
     and false.
22
                                                                                                               FIRST CAUSE OF ACTION
23
                                                                                           NEGLIGENCE-FAILURE TO WARN
24
                                                         (By PLAINTIFF against DEFENDANTS and/or DOES 1-100.)
25
                          21.                      PLAINTIFF re-alleges and incorporates herein by reference each and every
26
     allegation and statement contained in the prior paragraphs.
27

28
                                              PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
                                                                           5
      Case 1:24-cv-01276-JLT-SKO               Document 1-1        Filed 10/18/24    Page 7 of 11




             22.    DEFENDANTS, and each of them, designed, manufactured, promoted, marketed,

 2   advertised, sold, supplied and/or distributed the SUBJECT PORTABLE STEAM SAUNA.

 3           23.    DEFENDANTS, and each of them, were negligent when they designed,

 4   manufactured, promoted, marketed, advertised, sold, supplied and/or distributed the SUBJECT

 5   PORTABLE STEAM SAUNA.

 6           24.    PLAINTIFF is informed, believes, and thereon alleges that DEFENDANTS, and

 7   each of them, failed to properly warn of the dangers in the reasonable and intended use of the

 8   SUBJECT PORTABLE STEAM SAUNA.

 9           25.    PLAINTIFF has sustained severe injuries as a result of the SUBJECT PORTABLE

10   STEAM SAUNA.

11           26.    DEFENDANTS' negligence was a substantial factor in causing PLAINTIFF's

12   harm.

13           27.    PLAINTIFF requests the assessment of punitive damages against DEFENDANTS

14   in an amount appropriate to punish or set an example of them, pursuant to Civil Code section 3294.

15                                       SECOND CAUSE OF ACTION

16                                   NEGLIGENT PRODUCTS LIABILITY

17                        (By PLAINTIFF against DEFENDANTS and/or DOES 1-100)

18           28.    PLAINTIFF re-alleges and incorporates herein by reference each and every

19   allegation and statement contained in the prior paragraphs.

20           29.    DEFENDANTS, and each of them, owed a duty to PLAINTIFF and the general

21   public to exercise reasonable care in design and/or manufacture and/or warning, and/or inspecting,

22   and/or supplying and/or sale and/or distribution of the SUBJECT PORTABLE STEAM SAUNA,

23   to ensure it was safe for its reasonably foreseeable use.

24           30.    DEFENDANTS, and each of them, negligently and/or failed to exercise reasonable

25   care when they designed and/or manufactured and/or failed to warn, and/or inspected, and/or

26   supplying and/or sale and/or distribution the SUBJECT PORTABLE STEAM SAUNA, such that

27   it was dangerous and unsafe for its intended use and/or reasonably foreseeable use.

28
                   PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
                                                6
      Case 1:24-cv-01276-JLT-SKO              Document 1-1         Filed 10/18/24      Page 8 of 11




            31.     As a proximate result of said negligent conduct, PLAINTIFF suffered irreparable

 2   injuries as previously alleged.

 3          32.     The negligence of DEFENDANTS, and each of them, was a substantial factor in

 4   causing the serious injuries to PLAINTIFF, as previously alleged.

 5          33.     PLAINTIFF requests the assessment of punitive damages against DEFENDANTS

 6   in an amount appropriate to punish or set an example of them, pursuant to Civil Code section 3294.

 7                                      TIDRD CAUSE OF ACTION

 8                                     STRICT PRODUCTS LIABILITY

 9                        (By PLAINTIFF against DEFENDANTS and/or DOES 1-100)

            34.     PLAINTIFF re-alleges and incorporates herein by references each and every

11   allegation and statement contained in the prior paragraphs.

12          35.     At all times mentioned herein, DEFENDANTS, and each of them, were engaged in

13   the business of manufacturing, fabricating, designing, assembling, repairing, distributing, selling,

14   inspecting, warranting, warning, marketing, and/or advertising the SUBJECT PORTABLE

15   STEAM SAUNA.

16          36.     PLAINTIFF is informed, believes, and thereon alleges that the SUBJECT

17   PORTABLE STEAM SAUNA included design and/or manufacturing defects that resulted in

18   PLAINTIFF's injuries, and that the SUBJECT PORTABLE STEAM SAUNA contained this

19   defect when it was introduced into the stream of commerce.

20          37.     PLAINTIFF is informed, believes, and thereon alleges that DEFENDANTS, and

21   each of them, failed to properly warn of the dangers in the reasonable and intended use of the

22   SUBJECT PORTABLE STEAM SAUNA.

23          38.     As a direct result of the defective SUBJECT PORTABLE STEAM SAUNA and

24   conduct of the DEFENDANTS, and each of them, PLAINTIFF has suffered serious injuries and

25   damages.

26          39.     PLAINTIFF requests the assessment of punitive damages against DEFENDANTS
                                                                      .                          I
27   in an amount appropriate to punish or set an example of them, pursuant to Civil Code sectio~}?9-_ij

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                  PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
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       Case 1:24-cv-01276-JLT-SKO            Document 1-1          Filed 10/18/24    Page 9 of 11




                                      FOURTH CAUSE OF ACTION

 2                BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

 3                        (By PLAINTIFF against DEFENDANTS and/or DOES 1-100)

 4          40.     PLAINTIFF .re-alleges and incorporates herein by references each and every

 5   allegation and statement contained in the prior paragraphs.

 6          41.     PLAINTIFF is informed, believes, and thereon alleges that the SUBJECT

 7   PORTABLE STEAM SAUNA were purchased from DEFENDANTS, and each of them.

 8          42.     PLAINTIFF is informed, believes, and thereon alleges that at the time of purchase,

 9   DEFENDANTS, and each of them, were in the business of selling steam saunas, by their

Io   occupation held them out as having special knowledge or skill regarding these goods.

11          43.     PLAINTIFF is info1med, believes, and thereon alleges that the SUBJECT

12   PORTABLE STEAM SAUNA was not of the same quality as those generally acceptable in the

13   trade, was not fit for the ordinary purposes for which the SUBJECT PORTABLE STEAM SAUNA

14   was used.

15          44.     PLAINTIFF sustained irreparable injuries as a result of the defective SUBJECT

16   PORTABLE STEAM SAUNA.

17          45.     PLAINTIFF is informed, believes, thereon alleges that the failure of the SUBJECT

18   PORTABLE STEAM SAUNA to have the expected quality was a substantial factor in causing

19   serious injuries to PLAINTIFF.

20          46.     PLAINTIFF requests the assessment of punitive damages against DEFENDANTS

21   in an amount appropriate to punish or set an example of them, pursuant to Civil Code section 3294.

22                                    FIFTH CAUSE OF ACTION

23                              NEGLIGENT MISREPRESENTATION

24                        (By PLAINTIFF against DEFENDANTS and/or DOES 1-100)

25          47.     PLAINTIFF re-alleges and incorporates herein by references each and every

26   allegation and statement contained in the prior paragraphs.

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                  PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRIAL
                                               8
      Case 1:24-cv-01276-JLT-SKO             Document 1-1        Filed 10/18/24      Page 10 of 11




            48.      DEFENDANTS, and each of them, designed, manufactured, promoted, marketed,

 2   advertised, sold, supplied and/or distributed the SUBJECT PORTABLE STEAM SAUNA.

 3          49.      DEFENDANTS, and each of them, state on TEMU.COM, as set forth below, that

 4   "The steam generator is equipped with a built-in protection function to prevent overheating and

 5   dry burning."

 6          50.      DEFENDANTS' statements made on TEMU.COM regarding the safety and

 7   certification of the SUBJECT PORTABLE STEAM SAUNA were incorrect, not true, misleading,

 8   and false and although DEFENDANTS may have honestly believed that the representation were

 9   true, DEFENDANTS had no reasonable grounds for believing the representations were true when

10   DEFENDANTS made them.

11          51.      PLAINTIFF reasonably relied on the representations made about the safety and

12   certifications of the SUBJECT PORTABLE STEAM SAUNA on TEMU.COM.

13          52.      PLAINTIFF has sustained severe and permanent injuries, including amputation, as

14   a result of the SUBJECT PORTABLE STEAM SAUNA.

15          53.      PLAINTIFF's reliance on the representations made about the safety and

16   certifications of the SUBJECT PORTABLE STEAM SAUNA on TEMU.COM was a substantial

17   factor in causing PLAINTIFF's harm.

18          54.      PLAINTIFF requests the assessment of punitive damages against DEFENDANTS

19   in an amount appropriate to puriish or set an example of them, pursuant to Civil Code section 3294.

20

21                                     PRAYER FOR DAMAGES

22          WHEREFORE, PLAINTIFF ROBERT JOSEPH MARQUEZ hereby prays for judgment

23   against Defendants TEMU.COM, a Delaware Corporation; PDD HOLDINGS, INC., f/k/a

24   PINDUODUO, INC., a Delaware Corporation; WHALECO INC., a Delaware Corporation;

25   ANHUI KANGFUBAO E-COMMERCE CO., LTD., business entity, form unknown; and DOES

26   1-100, inclusive, and each of them, as follows:

21   Ill
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                  PLAINTIFF'S COMPLAINT FOR DAMAGES .... ; DEMAND FOR JURY TRIAL
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      Case 1:24-cv-01276-JLT-SKO              Document 1-1         Filed 10/18/24      Page 11 of 11




               1.    For general damages (also known as non-economic damages), including but not

 2   limited to, past and future physical, mental, and emotional pain and suffering in an amount in

 3   excess of the jurisdictional minimum, according to proof;

 4             2.    For special damages (also known as economic damages), including but not limited

 5   to, past and future hospital, medical, professional, and incidental expenses as well as past and

 6   future loss of earnings, loss of opportunity, and loss of earning capacity, in excess of the

 7   jurisdictional minimum, according to proof;

 8             3.    Punitive damages against DEFENDANTS in an amount that is to be ascertained;

 9             4.    Medical expenses incurred by PLAINTIFF; .

               5.    PLAINTIFF's loss of earnings and earning capacity;

11             6.    For cost of suit incurred herein, including attorney's fees, according to proof;

12             7.    For damages for PLAINTIFF's other losses, according to proof;

13             8.    For such other and further relief as the Court may deem just and proper.

14
     Dated: August 14, 2024                         ADAMSON AHDOOT LLP
15

16
                                                   ✓~~---
                                                           ARASH NEMATOLLAHI
17                                                         Attorneys for Plaintiff
                                                           ROBERT JOSEPH MARQUEZ
18

19
                                    DEMAND FOR TRIAL BY JURY
20
               Plaintiff ROBERT JOSEPH MARQUEZ hereby demands a trial by jury as to all causes of
21
     action.
22
     Dated: August 14, 2024                        ADAMSON AHDOOT LLP
23

24
                                                   ✓~---
                                                           ARASH NEMATOLLAHI
25
                                                           Attorneys for Plaintiff
26                                                         ROBERT JOSEPH MARQUEZ

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28
                    PLAINTIFF'S COMPLAINT FOR DAMAGES ... ; DEMAND FOR JURY TRlAL
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